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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

         TOM SORENSEN, individually and on
 behalf all others similarly situated,

                                       Plaintiff,
                                                               No. 1:22-cv-05522
        v.
                                                               Judge: Hon. Jorge L. Alonso
        TURNER BROADCASTING SYSTEM,
 INC. d/b/a BLEACHER REPORT, INC.,                             Magistrate Judge: Hon. Heather K.
                                                               McShain

                                       Defendant.


      MOTION TO WITHDRAW VOLUNTARY DISMISSAL WITH PREJUDICE

       On February 23, 2023, Plaintiff filed a motion for voluntary dismissal of his Complaint

under Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, and inadvertently sought

dismissal with prejudice. (Dkt. 33). No dismissal order has been entered as to Plaintiff’s motion.

       Plaintiff respectfully requests that his motion for voluntary dismissal (Dkt. 33) be

withdrawn, so that Plaintiff may file a corrected motion for voluntary dismissal without prejudice.

Date: February 24, 2023                              Respectfully Submitted,

                                                     /s/ Ryan F. Stephan
                                                     Ryan F. Stephan
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                                        ATTORNEYS FOR PLAINTIFFS




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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 24, 2023, he electronically filed the

foregoing with the Clerk of the Court for the United States District Court for the Northern District

of Illinois by using the CM/ECF system, which sent notification of such filing to all CM/ECF

participants.

                                                                     /s/ Ryan F. Stephan




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